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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 GEA MECHANICAL EQUIPMENT US, INC.,                       Civil Action No. 2-20-cv-
                                                          09741-BRM-ESK
              Plaintiff,

 v.                                                        Hon. Brian R. Martinotti,
                                                           U.S.D.J.
     FIRST STATE INSURANCE                                 Hon. Edward S. Kiel,
     COMPANY, ET AL.,                                      U.S.M.J.

              Defendants.


      PLAINTIFF’S STATEMENT OF MATERIAL FACTS NOT IN DISPUTE
     IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1,

 Plaintiff GEA Mechanical Equipment US, Inc. (“GEA Mechanical”), by its

 undersigned counsel, respectfully submits the following statement of material facts

 as to which there is no genuine issue to be tried.

 1.     The Defendants 1 or their predecessors issued certain primary or excess

        general liability policies to Centrico, Inc. (“Centrico”) covering various

        periods from May 15, 1979 to December 31, 1995 (the “Policies”). 2




 1
  The “Defendants” are First State Insurance Company (“First State”), Hartford
 Accident and Indemnity Company (“Hartford A&I”), Hartford Fire Insurance
 Company (“Hartford Fire,” and collectively with First State and Hartford A&I,
 “Hartford”), Wellfleet New York Insurance Company, as successor in interest to

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 2.    The Parties have agreed to and stipulated to the existence and key terms of

       the Policies. 3

 3.    The Policies insure the policyholder for liability incurred because of, inter

       alia, bodily injury caused by an occurrence. 4

 4.    GEA Mechanical is successor to Centrico and is entitled to all of the same

       rights and obligations under the Policies as Centrico with regard to the

       Thornton Action (defined below).5

 5.    Wellfleet New York Insurance Company is successor to AIIC and is entitled

       to all of the same rights and obligations under the Policies as AIIC with

       regard to the Thornton Action (defined below). 6

 6.    GEA Mechanical and Hartford have agreed to the existence and authenticity

       of certain Retrospective Rating Agreements but have not agreed on whether



 Atlanta International Insurance Company (“AIIC”), and Continental Insurance
 Company (“Continental”).
 2
   Certification of Donald Kiel in Support of Motion for Summary Judgment (the
 “Kiel Cert.”), Exs. 27, 28, and 29 (Policy Stipulations, infra Note 3).
 3
    See generally Stipulation Between Plaintiff GEA Mechanical and AIIC
 Regarding Authenticity and Completeness of Policy (Kiel Cert. Ex. 27);
 Stipulation Between Plaintiff GEA Mechanical and Continental Regarding the
 Existence, Authenticity, and Terms and Conditions of Policies (Kiel Cert. Ex. 28);
 Stipulation Between Plaintiff GEA Mechanical and First State, Hartford A&I, and
 Hartford Fire Regarding Authenticity and Completeness of Policies (Kiel Cert. Ex.
 29).
 4
   See generally Kiel Cert. Ex. 27; Kiel Cert. Ex. 28; Kiel Cert. Ex. 29.
 5
   See Kiel Cert. Ex. 27, at ¶ 8; Kiel Cert. Ex. 28, at ¶ 10; Kiel Cert. Ex. 29, at ¶ 7.
 6
   See Kiel Cert. Ex. 27, at ¶ 7.

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       those agreements apply to the Policies or GEA Mechanical’s claim for

       coverage in this action. 7

 7.    In March 2017, Charles and Constance Thornton filed a lawsuit, captioned

       Thornton v. Alfa Laval, Inc., et al., Case No. 17-006018 CA 42, Circuit

       Court for Miami-Dade County, Florida (the “Thornton Action”), against

       various underlying defendants. 8

 8.    GEA Mechanical retained the law firms of Miles & Stockbridge and Shapiro

       Blasi to defend GEA Mechanical in the Thornton Action.9

 9.    The record in this action does not include privileged defense

       communications or work product relating to GEA Mechanical or its defense

       counsels’ strategy for or analysis of the Thornton Action, as such

       information was withheld on privilege grounds and the Court upheld such

       assertions of privilege. 10

 10.   The Thornton Action involved allegations that Mr. Thornton suffered bodily

       injury as a result of alleged exposure to asbestos-containing brakes and


 7
    See Kiel Cert. Ex. 29, at ¶¶ 9, 12, Exs. 24-31. Hartford’s corporate witness,
 Timothy Brady, admitted that “there’s a conflict” between two provisions relating
 to the application of the Retro Agreements and that “one says one thing and one
 says another.” Deposition of Timothy Brady (Kiel Cert. Ex. 13), at 144:22-25.
 8
     Plaintiff’s Responses and Objections to Interrogatories by Defendants
 Continental and AIIC (Kiel Cert. Ex. 2), No. 5.
 9
   Id., No. 1.
 10
    See ECF No. 19, at 25-40 (ruling of Judge Kiel); ECF No. 17 (order); ECF No.
 32 (ruling of Judge Martinotti); ECF No. 33 (order).

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       clutches contained in centrifuges or separators used to separate plasma from

       blood that were sold by Centrico to his employer. 11

 11.   The earliest date that Mr. Thornton could have been exposed to GEA

       Mechanical’s products was May 15, 1979.12

 12.



 13.   On December 4, 2018 GEA Mechanical, the Thorntons, and certain other

       defendants to the Thornton Action participated in a court-ordered mediation

       (the “2018 Mediation”)




 14.




 11
    Thornton Complaint (Kiel Cert. Ex. 3).
 12
    Deposition of Elizabeth O’Neill (Kiel Cert. Ex. 30), at 68:5-69:6.
 13
    Kiel Cert. Ex. 2, No. 1 (detailing settlement discussions in the Thornton Action).
 14
    Id., No. 1; Deposition of Stuart Weinstein (Kiel Cert. Ex. 4), at 93:10-94:23.
 15
    Kiel Cert. Ex. 2, No. 1; Kiel Cert. Ex. 4, at 93:10-94:23.
 16
    Kiel Cert. Ex. 2, No. 1.
 17
    Id. (detailing the settlement discussions in the Thornton Action).

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 15.



 16.



 17.   The Thornton Action went to trial in June 2019. On June 17, 2019, the jury

       returned a verdict against GEA Mechanical in the total amount of $70.102

       million in compensatory damages. 20 A final judgment in that amount was

       entered against GEA Mechanical two days later on June 19, 2019. 21

 18.




 19.



 20.   Hartford produced evidence of prior impairment to certain of the primary

       Hartford Policies.24 Resolute has not produced evidence suggesting the


 18
    Deposition of Jamieson Greig (Kiel Cert. Ex. 9), at 169:2-173:11.
 19
    Kiel Cert. Ex. 2, No. 1; Kiel Cert. Ex. 9, at 175:5-15.
 20
    Verdict Form from the Thornton Action, June 17, 2019 (Kiel Cert. Ex. 6).
 21
    Final Judgment from the Thornton Action, June 19, 2019 (Kiel Cert. Ex. 7).
 22
    Settlement Agreement and General Release, Sept. 24, 2019 (Kiel Cert. Ex. 8), at
 GEA_00068194 - GEA_00068203.
 23
    Kiel Cert. Ex. 9, at 211:20-25.

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       impairment information provided from Hartford is incorrect.25 Resolute

       has not produced evidence showing prior impairment to the Continental or

       AIIC Policies.26

 21.   The parties have entered into a stipulation regarding the applicable method

       (only if it is determined that coverage exists) for allocating indemnity costs

       incurred and paid by GEA Mechanical in connection with its settlement of

       the Thornton Action. 27



                                                           The allocations shown in

       Appendix 1 account for the prior impairment discussed in Paragraph 20.

 22.   On August 5 and 6, 2019, prior to the settlement of the Thornton Action,

       GEA Mechanical notified Hartford and AIIC of the Thornton Action.28

       Hartford and AIIC do not dispute receipt of notice of the Thornton Action at

       or around this time.


 24
    Hartford Loss Run (Kiel Cert. Ex. 45), at HART006010 - HART006015.
 25
    Deposition of Thomas Barriball (Kiel Cert. Ex. 17), at 104:16-20; id. at 205:13-
 17.
 26
    Id. at 89:9-24.
 27
    Stipulation Regarding Allocation Between Plaintiff GEA Mechanical Equipment
 US, Inc. and Defendants First State Insurance Company, Hartford Accident and
 Indemnity Company, Hartford Fire Insurance Company, Wellfleet New York
 Insurance Company, and Continental Insurance Company (Kiel Cert. Ex. 1).
 28
    Letter from Jamieson Greig, Aug. 6, 2019 (Kiel Cert. Ex. 15), at AIIC00024 -
 AIIC00026; Letter from Jamieson Greig, Aug. 5, 2019 (Kiel Cert. Ex. 16), at
 HART005950 - HART005951.

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 26.   On January 7, 2020, after this coverage litigation had been commenced and

       after the settlement in the Thornton Action, GEA Mechanical provided

       notice of the Thornton Action to Continental.32

 27.   With respect to certain claims, including claims for coverage under the

       Policies for the Thornton Action, Resolute was and is the claims-handling

       agent for AIIC and Continental. 33 Resolute handled the Thornton claim in

       the same way for both AIIC and Continental. 34

 28.   Prior to the Thornton Action, GEA Mechanical was named as a defendant in

       two other asbestos bodily injury cases, Johnson and Mazzaia, which were

       both tendered to Hartford. 35

 29.   In both Johnson and Mazzaia, GEA Mechanical retained Miles &

       Stockbridge, one of the firms GEA Mechanical retained to defend the

       Thornton Action, and local counsel for the jurisdiction, to defend GEA




 32
    Letter from Jamieson Greig, Jan. 7, 2020 (Kiel Cert. Ex. 26), at GEA_00070956
 - GEA_00071023.
 33
    Kiel Cert. Ex. 17, at 22:8-23:14 (discussing assignment of certain Continental
 and AIIC obligations).
 34
    Id. at 28:24-29:3 (stating that AIIC and Continental follow the same claims
 handling procedures).
 35
    Letter from Jamieson Greig, Apr. 7, 2011 (Kiel Cert. Ex. 10), at GEA_00061855
 - GEA_00061856 (notice to Hartford of Mazzaia claim); Letter from Pamela L.
 Labaj, Mar. 4, 2009 (Kiel Cert. Ex. 11), at GEA_00014301 - GEA_00014302
 (notice to Hartford of Johnson claim).

                                         8
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             (b) If claim is made or suit is brought against the insured, the
             insured shall immediately forward to the company every
             demand, notice, summons or other process received by him or
             his representative.
             (c) The insured shall cooperate with the company and, upon the
             company's request, assist in making settlements, in the conduct
             of suits and enforcing any right of contribution or indemnity
             against any person or organization who may be liable to the
             insured because of injury or damage with respect to which
             insurance is afforded under this policy; and the insured shall
             attend hearings and trials and assist in securing and giving
             evidence and obtaining the attendance of witnesses. The
             insured shall not, except at his own cost, voluntarily make any
             payment, assume any obligation or incur any expense other
             than for first aid to others at the time of accident. 39

           ii.   Three of the Hartford Policies provide:
             C. Insured’s Duties in the Event of Occurrence, Claim or Suit:
             1. In the event of an occurrence, written notice containing
             particulars sufficient to identify the Insured and also
             reasonably obtainable information with respect to the time,
             place and circumstances thereof, and the names and addresses
             of the injured and of available witnesses, shall be given by or
             for the Insured to the Company or any of its authorized agents
             as soon as practicable.
             2. If claim is made or suit is brought against the Insured, the
             Insured shall immediately forward to the Company every
             demand, notice, summons or other process received by him or
             his representative.



  39
     Kiel Cert. Ex. 29, Ex. 1, at HART001364 (8/25/78-8/25/79); id., Ex. 2, at
  HART000089 (8/25/79-10/25/80); id., Ex. 3, at HART000175 (10/25/80-
  10/25/81); id., Ex. 4, at HART000225 (10/25/81-10/25/82); id., Ex. 5, at
  HART000265 (10/25/82-10/25/83); id., Ex. 6, at HART000325 (10/25/83-
  10/25/84); id., Ex. 7, at HART000396 (10/25/84-10/25/85); id., Ex. 8, at
  HART000462 (10/25/85-10/25/86); id., Ex. 9, at HART000572 (10/25/86-
  10/25/87); id., Ex. 10, at HART000680 (10/25/87-10/25/88).

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             3. The Insured shall cooperate with the Company[,] and, upon
             the Company's request, assist in making settlements, in the
             conduct of suits and in enforcing any right of contribution or
             indemnity against any person or organization who may be liable
             to the Insured because of injury or damage with respect to
             which insurance is afforded under this policy, and the Insured
             shall attend hearings and trials and assist in securing and giving
             evidence and obtaining the attendance of witnesses. The
             Insured shall not, except at his own cost, voluntarily make any
             payment, assume any obligation or incur any expense other
             than for first aid to others at the time of accident. 40

          iii. Four of the Hartford Policies provide:
             2. Duties In The Event of Occurrence, Claim Or Suit.
             a. You must see to it that we are notified as soon as practicable
             of an “occurrence” or an offense which may result in a claim.
             To the extent possible, notice should include:
             (1) How, when and where the “occurrence” or offense took
             place;
             (2) The names and addresses of any injured persons and
             witnesses; and
             (3) The nature and location of any injury or damage arising out
             of the “occurrence” or offense.
             b. If a claim is made or “suit” is brought against any insured,
             you must:
             (1) Immediately record the specifics of the claim or “suit” and
             the date received; and
             (2) Notify us as soon as practicable.
             You must see to it that we receive written notice of the claim or
             “suit” as soon as practicable.
             c. You and any other involved insured must:



  40
    Id., Ex. 11, at HART010302 (10/25/88-10/25/89); id., Ex. 12, at HART000820
  (10/25/89-10/25/90); id., Ex. 13, at HART001028 (10/25/90-12/25/91).

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             (1) Immediately send us copies of any demands, notices,
             summonses or legal papers received in connection with the
             claim or “suit;”
             (2) Authorize us to obtain records and other information;
             (3) Cooperate with us in the investigation, settlement or defense
             of the claim or “suit;” and
             (4) Assist us, upon our request, in the enforcement of any right
             against any person or organization which may be liable to the
             insured because of injury or damage to which this insurance
             may also apply.
             d. No insureds will, except at their own cost, voluntarily make a
             payment, assume any obligation, or incur any expense, other
             than for first aid, without our consent. 41

       b. First State: The First State Policies provide:
             D. Notice of Occurrence, Claim or Legal Proceeding: Upon
             the happening of an OCCURRENCE reasonably likely to
             involve the COMPANY hereunder, written notice shall be
             given as soon as practicable to the COMPANY or any of its
             authorized agents. Such notice shall contain particulars
             sufficient to identify the INSURED and the fullest information
             obtainable at the time.
             The INSURED shall give like notice of any claim made or legal
             proceeding commenced on account of such occurrence. If legal
             proceedings are begun, the INSURED, when requested by the
             COMPANY, shall forward to it each paper thereon, or a copy
             thereof received by the INSURED or the INSURED’S
             representatives, together with copies of reports of investigations




  41
    Id., Ex. 14, at HART001159 - HART001160 (12/25/91-12/31/92); id., Ex. 15, at
  HART001545 - HART001546 (12/31/92-12/31/93); id., Ex. 16, at HART 002381 -
  HART002382 (12/31/93-12/31/94); id., Ex. 17, at HART001722 - HART001723
  (12/31/94-12/31/95).

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               made by the INSURED with respect to such claim
               proceedings.42

        c. Continental: The Continental policies provide:
               6. Notice of Occurrence, Claim or Legal Proceedings.
               When an occurrence takes place which is reasonably likely to
               involve the insurance afforded hereunder written notice shall be
               given by or on behalf of the insured to the company or any of
               its authorized agents as soon as practicable. Such notice shall
               contain particulars sufficient to identify the insured and also
               reasonably obtainable information respecting the time, place
               and circumstances of the occurrence, the names and addresses
               of the injured and of available witnesses. The insured shall give
               like notice of any claim made because of such occurrence. If
               legal proceedings are instituted, the insured, when requested by
               the company, shall forward to it each document in connection
               therewith or a copy thereof, received by the insured or the
               insured's representatives. The company shall also have the right
               to request from the insured and the insured shall furnish the
               company copies of reports of any investigations conducted by
               the insured relative to such claims or suits. 43

        d. AIIC: The AIIC Policy provides:
               11.3 Insured’s Duties in the Event of Occurrence, Claim or
               Suit. In the event of an occurrence reasonably likely to involve
               indemnity under this policy, written notice containing
               particulars sufficient to identify the Insured and also reasonably
               obtainable information with respect to the time, place and
               circumstances thereof, and the names and addresses of the
               injured and of available witnesses, shall be given by or for the
               Insured to the Company or any of its authorized agents as soon
               as practicable.


  42
      Id., Ex. 18, at HART002036 (8/25/1978 - 8/25/1979); id., Ex. 22, at
  HART002045 (10/25/1982 - 10/25/1983); id., Ex. 23, at HART002054
  (10/25/1983 - 10/25/1984).
  43
     See Kiel Cert. Ex. 28, Exs. 1-3, at Continental000012. The Parties stipulated that
  all of the policies issued by Continental contain identical terms.

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              If claim is made or suit is brought against the Insured relating to
              an occurrence reasonably likely to involve the insurance
              afforded by this policy, the Insured shall immediately notify the
              Company in writing and forward to the underlying insurer and
              to the Company every demand, notice, summons or other
              process received by him or his representative. 44

  32.   GEA Mechanical served Interrogatory No. 41 on the Defendants, asking:
          Do YOU contend that the INSURED failed to provide timely notice
          under YOUR POLICIES of any UNDERLYING ASBESTOS-
          RELATED CLAIM(S)? If YOUR answer is anything other than an
          unqualified negative:
          (a) state all facts that support YOUR position;
          (b) state whether YOU contend that YOU suffered any appreciable
          prejudice as a result of such failure; and
          (c) if so, state all facts RELATING TO such appreciable prejudice. 45

  33.   In response, Defendants responded as follows:
        a. Hartford:
           [Numerous general objections omitted, including Hartford’s objection
           that the request “seeks information [not] relevant to the claims or
           defenses at issue in this litigation”].
           Subject to and without waiving the foregoing objections, Hartford
           responds that Plaintiff failed to provide timely notice of the Thornton
           Claim to Hartford and that Hartford has been prejudiced as a result.
           Hartford refers to any relevant, non-privileged documents it will produce
           and/or has produced that are responsive to this Interrogatory, as well as
           any documents produced or to be produced by Plaintiff and any
           deposition testimony to be provided in connection with this action.
           Hartford further refers to the Hartford Policies for their precise terms,
           conditions and exclusions. 46

        b. AIIC:

  44
     Kiel Cert. Ex. 27, Ex. 1, at AIIC00122.
  45
     Plaintiff’s First Set of Interrogatories (Kiel Cert. Ex. 34), No. 41.
  46
     Hartford’s Responses and Objections to Plaintiff’s First Set of Interrogatories
  (Kiel Cert. Ex. 46), No. 41.

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           Hartford further refers to the Hartford Policies for their precise terms,
           conditions and exclusions. 52

        b. AIIC:
           See Answer to Interrogatory 40. Notwithstanding the foregoing, AIIC
           further states that GEA should have given notice of the underlying
           Thornton claim in accordance with the obligations of AIIC Policy No.
           UMB6230 and any underlying policies. 53

        c. Continental:
           See Answer to Interrogatory 40 and 41. Notwithstanding the foregoing,
           Continental further states that GEA should have given notice of the
           underlying Thornton claim in accordance with the obligations of its
           policies of insurance. 54

  36.   GEA Mechanical served Interrogatory No. 43 on the Defendants, asking:
           If YOU contend that the INSURED failed to provide timely notice under
           YOUR POLICIES of any UNDERLYING ASBESTOS-RELATED
           CLAIM(S), describe (i) the actions that YOU would have undertaken
           had the INSURED provided YOU with what YOU contend is timely
           notice, and (ii) how those actions would have improved the outcome of
           the relevant UNDERLYING ASBESTOS-RELATED CLAIM(S). 55

  37.   In response, Defendants responded as follows:
        a. Hartford:
           [Numerous general objections omitted, including Hartford’s objection to
           the request “on the grounds that it is speculative” and “seeks information
           [not] relevant to the claims or defenses at issue in this litigation”].
           Subject to and without waiving the foregoing objections, Hartford
           responds that, were it provided timely notice of the Thornton Claim,
           Hartford would likely have participated in decisions relating to the
           defense and potential settlement of that claim, including but not limited
           to utilizing Hartford’s experience and knowledge relating to the defense
           and settlement of asbestos bodily injury claims to assist with the defense

  52
     Kiel Cert. Ex. 46, No. 42.
  53
     Kiel Cert. Ex. 32, No. 42.
  54
     Kiel Cert. Ex. 33, No. 42.
  55
     Kiel Cert. Ex. 34, No. 43.

                                           18
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           of the Thornton Claim and analysis of settlement opportunities, which
           would have likely achieved a better outcome of the Thornton Claim.
           Hartford refers to any relevant, non-privileged documents it will produce
           and/or has produced that are responsive to this Interrogatory, as well as
           any documents produced or to be produced by Plaintiff and any
           deposition testimony provided or to be provided in connection with this
           action. 56

        b. AIIC:
           See Answer to Interrogatory 41. In addition, AIIC objects to
           Interrogatory 43 on the ground that it is a hypothetical question that
           assumes a state of facts that does not, and never can, exist. Discovery
           continues, and AIIC reserves the right to amend or supplement its
           response to this interrogatory as additional information, including but not
           limited to any expert opinions, becomes available.57

        c. Continental:
           See Answer to Interrogatory 41. Continental further objects to this
           interrogatory as premature, as fact discovery is ongoing and expert
           discovery has not yet begun. In addition, Continental objects to
           Interrogatory 43 on the ground that it is a hypothetical question that
           assumes a state of facts that does not, and never can, exist. Continental
           further relies on the testimony of its corporate witness Thomas Barriball
           on this topic given during his August 11, 2021 deposition in this matter.
           Discovery continues, and Continental reserves the right to amend or
           supplement its response to this interrogatory as additional information,
           including but not limited to any expert opinions, becomes available.58

  38.   GEA Mechanical served Interrogatory No. 44 on the Defendants, asking:
           IDENTIFY all facts that support YOUR positions in YOUR answer to
           the preceding Interrogatory and IDENTIFY all person [sic] with
           knowledge RELATED TO YOUR positions.59

  39.   In response, Defendants responded as follows:

  56
     Hartford’s Amended Responses and Objections to Interrogatory Nos. 37, 43, 44,
  and 47 (Kiel Cert. Ex. 35), No. 43.
  57
     Kiel Cert. Ex. 32, No. 43.
  58
     Kiel Cert. Ex. 33, No. 43.
  59
     Kiel Cert. Ex. 34, No. 44.

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        a. Hartford:
           [Numerous general objections omitted, including Hartford’s objection to
           the request “on the grounds that it is speculative” and “seeks information
           [not] relevant to the claims or defenses at issue in this litigation”].
           Subject to and without waiving the foregoing objections, Hartford refers
           to any relevant, non-privileged documents it will produce and/or has
           produced that are responsive to this Interrogatory, including but not
           limited to the Standards and Procedures and those portions of the KMT
           produced herewith. Hartford also refers to any documents produced or to
           be produced by Plaintiff and any deposition testimony provided or to be
           provided in connection with this action. Hartford further refers to the
           Hartford Policies which have been produced for their terms, conditions
           and exclusions. 60

        b. AIIC:
           See Answer to Interrogatories 41 and 47.61

        c. Continental:
           See Answer to Interrogatories 41 and 47.62

  40.   During discovery, GEA Mechanical requested documents relating to actions

        Defendants took after receiving notice in other, similar claims against other

        insureds.63 All three Defendants objected to this discovery as not “relevant”



  60
     Kiel Cert. Ex. 35, No. 44.
  61
     Kiel Cert. Ex. 32, No. 44. AIIC’s response to Interrogatory No. 47 provides, in
  pertinent part, omitting objections and a statement on AIIC’s knowledge:
  “Notwithstanding the foregoing, James Gardner is handling this claim on behalf of
  AIIC and has knowledge relevant to the handling of the claim.” Id., No. 47.
  62
     Kiel Cert. Ex. 33, No. 44. Continental’s response to Interrogatory No. 47
  provides, in pertinent part, omitting objections and a statement on the scope of
  Continental’s knowledge: “Notwithstanding the foregoing, Sathima Jones is
  handling this claim on behalf of Continental and has knowledge relevant to the
  handling of the claim.” Id., No. 47.
  63
     Plaintiff’s Second Supplemental Set of Requests for Production of Documents
  (Kiel Cert. Ex. 36), No. 1.

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        and refused to produce any documents in response. 64 Hartford subsequently

        agreed that it would not rely on its handling of other specific claims to

        substantiate its claim of prejudice, and accordingly, none of the Defendants

        has produced evidence showing how it handled other, comparable claims. 65

  41.   During Rule 30(b)(6) depositions, the Defendants’ corporate witnesses were

        unable to provide proof of any specific actions they claim they would have

        taken that would have resulted in a better outcome in the Thornton Action

        had notice been provided earlier.

        a. Hartford: Rule 30(b)(6) witness Timothy Brady admitted that Hartford

           could not provide more than speculation with regard to whether or not

           Hartford would have achieved a better outcome in the Thornton Action.

             i.   With respect to what actions Hartford would have taken in

                  response to earlier notice, Mr. Brady identified the following

                  actions: issuing a reservation of rights letter; retaining defense

                  counsel; requiring periodic updates from defense counsel;

                  engaging in discussions with defense counsel as trial or mediation


  64
      AIIC’s Response to Plaintiff’s Second Supplemental Set of Requests for
  Production of Documents (Kiel Cert. Ex. 37), No. 1; Continental’s Response to
  Plaintiff’s Second Supplemental Set of Requests for Production of Documents
  (Kiel Cert. Ex. 38), No. 1; Hartford’s Responses and Objections to Plaintiff’s
  Second Supplemental Set of Requests for Production of Documents (Kiel Cert. Ex.
  39), No. 1.
  65
     Email from John Maloney, July 12, 2021 (Kiel Cert. Ex. 40).

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                  approached to “fill [Hartford] in” on various factors; and asking for

                  detailed reporting from the defense counsel. 66 Mr. Brady could not

                  state with certainty whether or not Hartford would have taken all

                  of these actions. For example, Mr. Brady testified that Hartford

                  “obviously would have retained defense counsel” but then went on

                  to say “I don’t know for certain whether or not [Miles &

                  Stockbridge] would have been retained. It’s possible that different

                  counsel would have been used.”67

            ii.   Mr. Brady also admitted that Hartford could not provide more than

                  speculation with regard to whether or not Hartford would have

                  achieved a better outcome in the Thornton Action.68 When asked

                  what facts Hartford possesses to indicate that it would have

                  achieved a superior result, Mr. Brady testified that “I can’t

                  hypothesize as to what specifically that outcome would have been

                  … I suspect that there would have been a very different

                  outcome.” 69



  66
     Kiel Cert. Ex. 13, at 33:20:-34:24.
  67
     Id. at 34:2-6.
  68
     Id. at 32:20-25 (when asked if Hartford would have obtained a superior result,
  Mr. Brady responded: “I can say that Hartford would have done, you know,
  everything it could have -- to obtain the best possible outcome.”).
  69
     Id. at 33:4-18.

                                           22
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            iii.   Mr. Brady also provided testimony that




                   in this Litigation.




  70
     Id. at 42:24-43:18.
  71
     Id. at 121:3-125:5.
  72
     Id. at 122:3-123:1.
  73
     Id. at 123:2-11.

                                           23
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        b. AIIC and Continental: Rule 30(b)(6) witness Thomas Barriball

           admitted that AIIC and Continental could not provide more than

           speculation with regard to whether or not they would have achieved a

           better outcome in the Thornton Action.

              i.   When asked for specific suggestions the insurers would have made

                   or how that would have led to a better outcome, Mr. Barriball

                   testified that “it’s impossible to give you specific examples[.]” 79

             ii.   When asked to specify what actions Continental would have taken

                   to achieve a superior result and what result it would have achieved,

                   Mr. Barriball testified that Continental, if it had the opportunity,

                   “could have gotten involved, and encouraged and facilitated a

                   better settlement.”80 When asked for facts on which he based this

                   conclusion, Mr. Barriball testified that he based it on Continental’s

                   “experience” that “we can generally achieve better results than

                   this” and when asked what specific information they had that they




  so period, what did Hartford do to get involved in the defense or assist GEA in any
  way? A: I don’t know of anything as I sit here.”).
  79
     Kiel Cert. Ex. 17, at 109:2-3.
  80
     Id. at 97:3-97:19; see also id. at 124:19-125:2 (explaining that Continental could
  have, and likely would have,” asked for information from defense counsel,
  reviewed reports, offered opinions to defense counsel or to Hartford”).

                                             25
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  44.   Neither Mr. Heinze nor Ms. O’Neill take the position that the Defendants

        would have defeated the claims in the Thornton Action.87

  45.   Neither Mr. Heinze nor Ms. O’Neill have: (a) been employed by any of the

        Defendants; (b) interviewed anyone who worked for the Defendants in

        connection with this action; nor (c) reviewed any information from

        Defendants’ claims databases in connection with this action.88

  46.   Mr. Heinze opines that the timing of GEA Mechanical’s notice of the

        Thornton Action, by itself, resulted in “appreciable prejudice to the

        Insurers.”89 Mr. Heinze argues that “the Notice provision is a condition

        precedent with which the insured must comply before coverage can be

        afforded.”90


  86
     Affidavit of Marc P. Kunen (Kiel Cert. Ex. 44), at ¶ 6.
  87
     Kiel Cert. Ex. 31, at 160:9-13; Kiel Cert. Ex. 30, at 267:3-5 (“I think it would
  have been very difficult to get a defense verdict in this case[.]”).
  88
     E.g., Kiel Cert. Ex. 30, at 47:10-21 (has never worked for an insurer); id. at 30:7-
  10 (never interviewed anyone from the Defendants); id. at 74:17-22 (did not and
  has never reviewed insurer databases); Kiel Cert. Ex. 31, at 127:18-128:2 (has
  never looked at Defendants’ databases); id. at 17:5-8 (did not interview anyone
  from Defendants).
  89
     Kiel Cert. Ex. 41, at 20; see also id. at 23 (“The Appreciable Prejudice Sustained
  by the Insurers”); Kiel Cert. Ex. 31, at 157:8-12 (testifying that the loss of
  opportunity to achieve a more favorable settlement resulted in appreciable
  prejudice).
  90
     Id. at 19.

                                            27
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  47.   Mr. Heinze also opines that Defendants suffered appreciable prejudice as a

        result of a laundry-list of “lost opportunities,” which included, inter alia, the

        inability to “[a]ctivate the tri-partite relationship between an insurance

        company, its insured and defense counsel[;]” and the loss of the opportunity

        to “[e]ngage and obtain the report of a forensic economist to calculate any

        alleged lost earnings[.]” 91

  48.   Ms. O’Neill asserts that GEA Mechanical and its counsel improperly

        evaluated the risk and liability exposure from the Thornton Action, and

        therefore, employed an improper settlement and litigation strategy, leading

        to the excess verdict. 92




  49.




  50.




  91
     Id. at 23-26.
  92
     Kiel Cert. Ex. 5, at 5-12.
  93
     Id. at 5-12.
  94
     Kiel Cert. Ex. 30, at 96:1-20.


                                           28
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  53.   Ms. O’Neill admits that she does not identify “a single specific example of

        an asbestos case in which Resolute or Hartford was involved and in which

        they actually did the things that [Ms. O’Neill] assert[s] they would have

        done in this case.” 101

  54.   Ms. O’Neill also admits that she does not know specifically what, if any,

        internal claims data the Defendants possess because she did not review any

        of the Defendants’ databases, claims files, or other cases that allegedly

        contain that knowledge. 102

  55.   Ms. O’Neill’s report identifies results from her own search of public verdicts

        in asbestos cases.103 Based on her search, Ms. O’Neill speculates that “the

        insurers would have utilized a different strategy for settlement negotiations

        than that employed by GEA.” 104




  101
      E.g., Kiel Cert. Ex. 30, at 44:2-8 (“Q. Would you agree with me that nowhere in
  either of your two reports do you identify a single specific example of an asbestos
  case in which Resolute or Hartford was involved and in which they actually did the
  things that you assert they would have done in this case? A. That’s correct. I do
  not.”); see also id. at 99:11-20.
  102
       Id. at 26:4-24; see also id. at 72:16-21 (stating that she did not perform an
  investigation into what particular institutional knowledge the Defendants have that
  would have been helpful in this case).
  103
      Kiel Cert. Ex. 5, at 6-7.
  104
      Id. at 7.

                                           30
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  56.   Ms. O’Neill’s opinion relies on her search of public verdicts in the relevant

        jurisdiction but she admits that her search methodology did not include at

        least 18 responsive verdict results. 105

                                        Respectfully submitted,

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  105
      E.g., Kiel Cert. Ex. 30, at 129:15-16 (discussing the Gonzalez verdict); see also
  id. at 111-119 (discussing 17 other defense verdicts that were omitted from her
  analysis and opinion).

                                             31
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                                                                        Appendix 1

GEA Mechanical Equipment US, Inc. v. Federal Insurance Company, et al.
Application of Carter-Wallace Allocation Percentages by Period for Thornton Claim to Policies

Period Begin    Period End Primary Insurer                              Policy No.              Amount Excess Insurer                         Policy No. Amount
  5/15/1979     8/25/1979 Hartford Accident and Indemnity Company       10C669913W                     First State Insurance Company          940779
  8/25/1979     8/25/1980 Hartford Accident and Indemnity Company       10C671174W                     Continental Insurance Company          SRU2153318
  8/25/1980    10/25/1980 Hartford Accident and Indemnity Company       10C671174W                     Continental Insurance Company          SRU2153318
 10/25/1980    10/25/1981 Hartford Accident and Indemnity Company       10CML0740W                     Continental Insurance Company          SRU3192930
 10/25/1981    10/25/1982 Hartford Accident and Indemnity Company       10CML0740W                     Continental Insurance Company          SRU1591549
 10/25/1982    10/25/1983 Hartford Accident and Indemnity Company       10CML0740W                     First State Insurance Company          951719
 10/25/1983    10/25/1984 Hartford Accident and Indemnity Company       10CML0740W                     First State Insurance Company          953847
 10/25/1984    10/25/1985 Hartford Accident and Indemnity Company       10CML0740W                     Wellfleet New York Insurance Company   UMB-06230
 10/25/1985    10/25/1986 Hartford Accident and Indemnity Company       10CLRML0743W
 10/25/1986    10/25/1987 Hartford Accident and Indemnity Company       10CLRML0743W
 10/25/1987    10/25/1988 Hartford Accident and Indemnity Company       10CLRML0743W
 10/25/1988    10/25/1989 Hartford Accident and Indemnity Company       10UERML0743W
 10/25/1989    10/25/1990 Hartford Accident and Indemnity Company       10UERML0743W
 10/25/1990    10/25/1991 Hartford Fire Insurance Company               10UERML0743W
 10/25/1991    12/25/1991 Hartford Fire Insurance Company               10UERML0743W
 12/25/1991    12/25/1992 Hartford Fire Insurance Company               10UERML0743W
 12/25/1992    12/31/1992 Hartford Fire Insurance Company               10UERML0743W
 12/31/1992    12/31/1993 Hartford Fire Insurance Company               10UERML0743W
 12/31/1993    12/31/1994 Hartford Fire Insurance Company               10UERML0743W
 12/31/1994    12/31/1995 Hartford Fire Insurance Company               10UERML0743W

                            Subtotals By Insurer                                                Amount
                            Hartford Accident and Indemnity Company
                            Hartford Fire Insurance Company
                            First State Insurance Company
                            Continental Insurance Company
                            Wellfleet New York Insurance Company
                            Total
